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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO.: 1:05cr31-SPM

TAMIR MORGAN BUTLER,
           Defendant.
_____________________________/

           ORDER DENYING MOTION TO COMPEL GOVERNMENT
                     TO FILE A RULE 35 MOTION

       Pending before the Court is Defendant’s motion (doc. 153) requesting a

hearing to compel the Government to file a substantial assistance motion under

Rule 35 on his behalf. The Government filed a response (doc. 154).

       To compel the Government to file a substantial assistance motion, a

defendant must first make a threshold showing that the government’s refusal is

based on a constitutionally impermissible motive. Wade v. United States, 504

U.S. 181, 186 (1992). Defendant’s claim that he provided substantial assistance

is not sufficient to satisfy the threshold showing. Id. Accordingly, it is

       ORDERED AND ADJUDGED that Defendant’s motion (doc. 153) is

denied.

       DONE AND ORDERED this 29th day of October, 2007.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
